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                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

                                                         CASE NUMBER:

AIRDOCTOR, LLC
                                                            2:22−cv−05784−GW−AS
                                     PLAINTIFF(S)

                          v.

XIAMEN QICHUANG TRADE CO., LTD.

                                                                        DEFAULT BY CLERK
                                                                          F.R.Civ.P. 55(a)
                                  DEFENDANT(S).




     It appearing from the records in the above−entitled action that summons has been served upon the
defendant(s) named below, and it further appearing from the affidavit of counsel for Plaintiff, and other
evidence as required by F.R.Civ.P. 55(a), that each of the below defendants have failed to plead or otherwise
defend in said action as directed in said Summons and as provided in the Federal Rules of Civil Procedure:

     Now, therefore, on request of counsel, the DEFAULT of each of the following named defendant(s) is
hereby entered:

 Xiamen Qichuang Trade Co., Ltd.




                                                       Clerk, U.S. District Court

  June 22, 2023                                        By /s/ Benjamin Moss
Date                                                   Deputy Clerk

CV−37 (10/01)                           DEFAULT BY CLERK F.R.Civ.P. 55(a)
